Case 6:12-cv-06129-MAT-MWP Document 48 Filed 07/19/13 Page 1 of 5

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

SOPHIA LAMONT,
as Administrator Limited Letters of the
Estate of Frank P. Lamont, Jr.,

 

ORDER
Plaintiff,
12-CV-6129T
Vv.
UNITED STATES OF AMERICA,
Defendant.

 

This case is scheduled for a settlement conference on August 13, 2013, at 2:00
p-m. All lead counsel are hereby ORDERED TO APPEAR before the undersigned at 2310
United States Courthouse, 100 State Street, Rochester, New York. Parties are directed to be
present in person. If the party is insured, a representative of the insurer who is authorized to
discuss and make recommendations relating to settlement shall be present to substantively
participate in the conference. Ifthe party is an uninsured corporation, a representative authorized
to discuss and make recommendations relating to settlement shall be present.

Experience teaches that settlement conferences are often unproductive unless the
parties have exchanged demands and offers before the conference and made a serious effort to
settle the case on their own. Accordingly, before arriving at the settlement conference, the
parties are to negotiate and make a good faith effort to settle the case without the involvement of

the Court. Specific proposals and counter proposals shall be made. If settlement is not achieved

 
Case 6:12-cv-06129-MAT-MWP Document 48 Filed 07/19/13 Page 2 of 5

before the settlement conference, the parties shall be prepared to engage in further negotiations at
the conference.

The purpose of the settlement conference is to facilitate settlement of this case, if
that is appropriate. It will be conducted in such a manner as not to prejudice any party in the
event settlement is not reached. To that end, all matters communicated to the undersigned in
confidence will be kept confidential, and will not be disclosed to any other party.

At least one week prior to the conference, each party shall submit directly to
chambers a confidential settlement report. This report shall set forth: (1) a brief summary of the
facts of the case; (2) the status of settlement negotiations, including the most recent settlement
demand and/or settlement offer; (3) a brief summary of the damages sought (including a
breakdown of special damages) and whether there are settlement options, in addition to or in lieu
of money damages, that could be discussed at the settlement conference. If expert testimony will
be offered at trial, a brief summary of such expert testimony, including the identity of the expert
should also be contained in the settlement report. Ifa particular document or report is helpful in
understanding the case or damages, counsel may attach such document(s) to their submission.
Counsel may, but are not required to share their submission with opposing counsel. Any
submission should be submitted directly to the Court and shall NOT be filed with the Clerk.

At the settlement conference, the parties, by counsel, shall give a brief
presentation outlining the factual and legal highlights of their case. Separate, confidential
caucuses will be held with each party and the party’s representative(s). Attached is an outline for
counsel to review with the parties prior to the settlement conference to make the best use of the

time allotted.
Case 6:12-cv-06129-MAT-MWP Document 48 Filed 07/19/13 Page 3 of 5

The request for parties’ personal appearance is intended to increase the efficiency
and effectiveness of the settlement conference, by reducing the time for communication of offers
and expanding the ability to explore options for settlement.
IT IS SO ORDERED.

Mar'en Way
MARIAN W. PAYSON

United States Magistrate Judge

Dated: Rochester, New York
July 14, 2013
Case 6:12-cv-06129-MAT-MWP Document 48 Filed 07/19/13 Page 4 of 5

MARIAN W. PAYSON
UNITED STATES MAGISTRATE JUDGE

SETTLEMENT CONFERENCE PREPARATION

Experience shows that in negotiations, the party who is best prepared usually
obtains the best result. Settlement conferences can be held more efficiently if all parties and
counsel are prepared. The following are some areas to consider in order to aid in the
effectiveness of this settlement conference.

A. FORMAT

1. Parties with ultimate settlement authority must be present in
person.
2. The court will use a mediation format, and private caucusing with

each side; the judge may address your client directly.

B. ISSUES

 

1. What issues (in and outside of this lawsuit) need to be resolved?
What are the strengths and weaknesses of each issue? What is
your most persuasive argument?

2. What remedies are available resulting from this litigation or
otherwise?

3. Is there any ancillary litigation pending/planned which affects case
value?

4, Do you have enough information to value the case? If not, how are

you going to get more information before the conference?

5. Do attorney’s fees or other expenses affect settlement? Have you
communicated this to the other side?

C. AUTHORITY

1. Are there outstanding liens? Have you verified amounts and
whether they are negotiable? Do we need to include a
Case 6:12-cv-06129-MAT-MWP Document 48 Filed 07/19/13 Page 5of5

representative of the lien holder? If so, contact the court
immediately.

Is there valid insurance coverage? In what amount? If coverage is
at issue, or the amount/type affects settlement value, have you
notified the other side? Do we need to include the representative
from more than one company/carrier? If so, notify the court
immediately.

D. NEGOTIATIONS

Where have your last discussions ended? Are you sure?

Can you have any discussions before the settlement conference to
make it proceed more efficiently?

What value do you want to start with? Why? Have you discussed
this with your client?

What value do you want to end with? Why? Have you discussed
this with your client? Is it significantly different from values you
have placed on this case at other times?

Is there confidential information which affects case value? Why
can’t/won’t/shouldn’t it be disclosed? How can the other side be
persuaded to change value if it doesn’t have this information?

What happens if you don’t settle the case at the conference? What
is your best alternative to a negotiated settlement? Why?

E. CLOSING

1.

2.

If settlement is reached, do you want it on the record?

Have you discussed settlement formats with your client? Does the
client understand structured settlements, annuities, Rule 68 offers
to compromise?

How soon could checks/closing documents be received?
If settlement is not reached, and further discovery is needed, what

is your plan for continued settlement discussions? Do you want
court involvement in these talks?
